Case 9:18-cv-80086-DMM Document 42 Entered on FLSD Docket 05/01/2018 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                          WEST PALM BEACH DIVISION

                                     Civil Action No. 9:18-cv-80086-DMM

  CHARLES WILDES, individually; FRANCISCO DORIA, individually;
  AKIVA KATZ, individually; JAMES GURRY, individually;
  RONALD NELSON, individually; and JUSTIN PERRY, individually;
  and on behalf of All Others Similarly Situated;
         Plaintiffs,
  v.
  BITCONNECT INTERNATIONAL PLC, a foreign corporation;
  BITCONNECT LTD., a foreign corporation;
  BITCONNECT TRADING LTD., a foreign corporation;
  JOSHUA JEPPESEN, an individual; GLENN ARCARO, an individual;
  TREVON BROWN a/k/a TREVON JAMES, an individual;
  RYAN HILDRETH, an individual; CRAIG GRANT, an individual;
  JOHN DOE NO. 1 a/k/a NICHOLAS TROVATO a/k/a CRYPTONICK, an individual;
  RYAN MAASEN, an individual; and JOHN DOE NOS. 2-10, individuals;
        Defendants.
  ________________________________________________/

                          PLAINTIFFS’ NOTICE OF FILING
                      RETURN OF SERVICE OF SUMMONS UPON
                  DEFENDANT TREVON BROWN a/k/a TREVON JAMES

         Plaintiffs CHARLES WILDES, FRANCISCO DORIA, AKIVA KATZ, JAMES GURRY,

  RONALD NELSON, and JUSTIN PERRY (“Plaintiffs”), individually and on behalf of all other

  persons similarly situated as defined herein; by and through undersigned counsel, hereby serve notice

  of filing the attached Return of Service of Summons, memorializing personal service of process upon

  Defendant TREVON BROWN a/k/a TREVON JAMES, an individual.




                                                    SILVER MILLER
                       11780 West Sample Road • Coral Springs, Florida 33065 • Telephone (954) 516-6000
                                                 www.SilverMillerLaw.com
Case 9:18-cv-80086-DMM Document 42 Entered on FLSD Docket 05/01/2018 Page 2 of 2
                                                                                         Case No. 9:18-cv-80086-DMM


                                                               Respectfully submitted,

                                                               SILVER MILLER
                                                               11780 W. Sample Road
                                                               Coral Springs, Florida 33065
                                                               Telephone:      (954) 516-6000

                                                               By:
                                                                         DAVID C. SILVER
                                                                         Florida Bar No. 572764
                                                                         E-mail: DSilver@SilverMillerLaw.com
                                                                         JASON S. MILLER
                                                                         Florida Bar No. 072206
                                                                         E-mail: JMiller@SilverMillerLaw.com
                                                                         Counsel for Plaintiffs


                                     CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
  of Court on this 1st day of May 2018 by using the CM/ECF system and that a true and correct
  copy will be served via electronic mail to: RYAN K. STUMPHAUZER, ESQ., STUMPHAUZER &
  SLOMAN, Counsel for Defendant Ryan Maasen, SunTrust International Center, One SE Third Avenue,
  Suite 1820, Miami, FL 33131, E-mail: rstumphauzer@sslawyers.com.


                                                               ____________________________________
                                                                     DAVID C. SILVER




                                                        -2-
                                                SILVER MILLER
                   11780 West Sample Road • Coral Springs, Florida 33065 • Telephone (954) 516-6000
                                             www.SilverMillerLaw.com
